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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

__________________________________________
                                          )
UNITED STATES OF AMERICA                  )
                                          )
            v.                            ) Case No. 16-cr-10137-LTS
                                          )
KENNETH BRISSETTE and                     )
TIMOTHY SULLIVAN                          )
__________________________________________)

            DEFENDANTS’ JOINT MOTION FOR LEAVE TO FILE REPLY

       Defendants Kenneth Brissette and Timothy Sullivan (“Defendants”) move the Court for

leave to file a Joint Reply Memorandum in response to the government's opposition (Dkt #249)

to their Motion to Reconsider Their Renewed Motion to Dismiss (Dkt #243, 244).

       In support of this Motion, defendants state that would like the opportunity to respond to

new arguments advanced by the government as to why their alleged conduct was “wrongful”

under the Hobbs Act.

            CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

       Undersigned counsel hereby certifies that the parties have conferred in a good faith

attempt to resolve or narrow the issue.



       Respectfully submitted,                              Respectfully submitted,
       KENNETH BRISSETTE,                                   TIMOTHY SULLIVAN,
       By his attorneys,                                    By his attorneys,


       /s/ William H. Kettlewell                            /s/ Thomas R. Kiley
       /s/ Sara E. Silva                                    /s/ William J. Cintolo
       William H. Kettlewell (BBO # 270320)                 /s/ Meredith G. Fierro
       Sara E. Silva (BBO # 645293)                         Thomas R. Kiley (BBO #271460)
       HOGAN LOVELLS                                        William J. Cintolo (BBO #084120)
       100 High Street, 20th Floor                          Meredith G. Fierro (BBO #696295)

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Dated: June 6, 2019

                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as registered participants on June 6, 2019.

                                      /s/ Meredith G. Fierro




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